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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

                                                      §
In re                                                 §             Chapter 11
                                                      §
GLOBAL GEOPHYSICAL                                    §
SERVICES, LLC, et al.,1                               §             Case No. 16-20306
                                                      §
                Debtors.                              §
                                                      §
                                                      §

        AMENDED2 AGENDA FOR HEARING ON JUNE 8, 2021 AT 3:00 P.M. (CT)

1.      Motion of Global Geophysical Services, LLC to Reopen its Bankruptcy Case and Enforce
        the Confirmation Order [Dkt. No. 224]

     Responses:

        A.      Objection of San Roman Ranch Mineral Partners, Ltd. to Motion of Global
                Geophysical Services, LLC to Reopen its Bankruptcy Case and Enforce the
                Confirmation Order [Dkt. No. 225]

        B.      Global Geophysical Services, LLC’s Reply in Support of Motion to Reopen its
                Bankruptcy Case and Enforce the Confirmation Order [Dkt. No. 227]

     Related Documents:

        A.      Notice of Hearing on Motion of Global Geophysical Services, LLC to Reopen its
                Bankruptcy Case and Enforce the Confirmation Order [Dkt. No. 226]

        B.      San Roman Ranch Mineral Partners, Ltd.’s Request under Federal Rule of
                Evidence 201(b) for Judicial Notice [Dkt. No. 228]

        C.      San Roman Ranch Mineral Partners, Ltd.’s Witness and Exhibit List
                [Dkt. No. 229]




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        The Debtors in these chapter 11 cases were: Global Geophysical Services, LLC (7582); Global Geophysical
        Services, Inc. (4281); Global Geophysical EAME, Inc. (2130); GGS International Holdings, Inc. (2420);
        Global Ambient Seismic, Inc. (2256); Autoseis, Inc. (5224); Autoseis Development Company (9066); and
        Global Geophysical (MCD), LLC (a disregarded entity for tax purposes).
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        Amended items are included in bold text.
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      D.     Global Geophysical Services, LLC’s Witness and Exhibit List for Hearing on
             Motion of Global Geophysical Services, LLC to Reopen its Bankruptcy Case and
             Enforce the Confirmation Order [Dkt. No. 224] [Dkt. No. 230]

      E.     Global Geophysical Services, LLC’s Amended Witness and Exhibit List for
             Hearing on Motion of Global Geophysical Services, LLC to Reopen its
             Bankruptcy Case and Enforce the Confirmation Order [Dkt. No. 224]
             [Dkt. No. 232]

   Status:   This matter is going forward.


Dated: June 8, 2021                          AKIN GUMP STRAUSS HAUER & FELD LLP
       Houston, Texas
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                                             ATTORNEYS FOR DEBTORS




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Amended Agenda for Hearing
on June 8, 2021 at 3:00 P.M. (CT) has been served on this 8th day of June, 2021, by the Electronic
Case Filing System of the United States Bankruptcy Court for the Southern District of Texas.
Additionally, I have caused a copy of this document to be served by email on counsel to San Roman
Ranch Mineral Partners, Ltd. at the following address:

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                                             /s/ Nicholas E. Petree
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